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                                         No. 23-2275


                    IN THE UNITED STATES COURT OF APPEALS
                           FOR THE FOURTH CIRCUIT


                             STEVEN ROBERT BROWN, et al.,

                                                    Plaintiffs-Appellees,

                                              v.

         BUREAU OF ALCOHOL, TOBACCO, FIREARMS AND EXPLOSIVES, et al.,

                                                    Defendants-Appellants.


                        On Appeal from the United States District Court
                          for the Northern District of West Virginia


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                                STATEMENT OF JURISDICTION

               Plaintiffs invoked the district court’s jurisdiction under 28 U.S.C. § 1331. JA13.

        The district court entered final judgment on December 1, 2023. JA69. The

        government filed a timely notice of appeal on December 8, 2023. JA83. This Court

        has appellate jurisdiction under 28 U.S.C. § 1291.

                                   STATEMENT OF THE ISSUE

               For over half a century, Congress has prohibited the commercial sale of

        handguns to 18-to-20-year-olds. See 18 U.S.C. § 922(b)(1), (c)(1). The question

        presented is whether these commercial sale restrictions are consistent with the Second

        Amendment.

                        PERTINENT STATUTES AND REGULATIONS

               Pertinent statutes and regulations are reproduced in the addendum to this brief.

                                   STATEMENT OF THE CASE

               A.     Statutory and Regulatory Background

               This case concerns legislatures’ authority to set age qualifications on the

        commercial sale of firearms.

               Following a multi-year inquiry into violent crime that included “field

        investigation and public hearings,” S. Rep. No. 88-1340, at 1 (1964), Congress found

        “that the ease with which” handguns could be acquired by “juveniles without the

        knowledge or consent of their parents or guardians[] . . . and others whose possession

        of such weapons is similarly contrary to the public interest[] is a significant factor in
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        the prevalence of lawlessness and violent crime in the United States,” Omnibus Crime

        Control and Safe Streets Act of 1968, Pub. L. No. 90-351, tit. IV, § 901(a)(2), 82 Stat.

        197, 225. The legislative record established that “minors under the age of 21 years

        accounted for 35 percent of the arrests for the serious crimes of violence, including

        murder, rape, robbery, and aggravated assault,” and 21 percent of the arrests for

        murder. 114 Cong. Rec. 12,309 (1968) (statement of Sen. Dodd).

               Based on its investigations, Congress identified “a causal relationship between

        the easy availability of firearms other than a rifle or shotgun and juvenile and youthful

        criminal behavior.” Pub. L. No. 90-351, tit. IV, § 901(a)(6), 82 Stat. at 225-26.

        Federal law enforcement officials testified that “[t]he greatest growth of crime today is

        in the area of young people, juveniles[,] and young adults” and that “[t]he easy

        availability of weapons makes their tendency toward wild, and sometimes irrational

        behavior that much more violent, that much more deadly.” Federal Firearms Act:

        Hearings Before the Subcomm. to Investigate Juvenile Delinquency of the S. Comm. on the Judiciary,

        90th Cong. 57 (1967) (statement of Sheldon S. Cohen). Law enforcement officers

        from New York City, Los Angeles, St. Louis, Chicago, Philadelphia, and Atlanta

        provided Congress with “statistics documenting the misuse of firearms by juveniles

        and minors.” S. Rep. No. 89-1866, at 59 (1966); see also id. at 58, 60. These legislative

        findings accord with more recent empirical evidence identifying a relationship

        between setting the minimum age to purchase handguns at 21 and a decrease in

        violent crime. See, e.g., Kara E. Rudolph et al., Association Between Connecticut’s Permit-to-
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        Purchase Handgun Law and Homicides, 105 Am. J. of Pub. Health e49, e49-50 (2015),

        https://perma.cc/A5K8-ZZQT.

               Congress’s investigations revealed that “almost all of these firearms[] are put

        into the hands of juveniles by importers, manufacturers, and dealers who operate

        under licenses issued by the Federal Government.” Federal Firearms Act: Hearings

        Before the Subcomm. to Investigate Juvenile Delinquency of the S. Comm. on the Judiciary, 89th

        Cong. 67 (1965) (statement of Sheldon S. Cohen). Thus, Congress found that

        concealable firearms (such as handguns) “have been widely sold by federally licensed

        importers and dealers to emotionally immature, or thrill-bent juveniles and minors

        prone to criminal behavior.” Pub. L. No. 90-351, tit. IV, § 901(a)(6), 82 Stat. at 225-

        26. Congress accordingly concluded “that only through adequate Federal control over

        interstate and foreign commerce in these weapons, and over all persons engaging in

        the businesses of importing, manufacturing, or dealing in them, can this grave

        problem be properly dealt with, and effective State and local regulation of this traffic

        be made possible.” Id. § 901(a)(3), 82 Stat. at 225.

               To that end, Congress included statutory provisions designed to address “[t]he

        clandestine acquisition of firearms by juveniles and minors,” S. Rep. No. 90-1097, at

        79 (1968), in both the Omnibus Crime Control and Safe Streets Act of 1968 and the

        Gun Control Act of 1968, Pub. L. No. 90-618, tit. I, § 101, 82 Stat. 1213, 1213-14.

        Those provisions are codified at Sections 922(b)(1) and (c) of Title 18. In addition to

        prohibiting federal firearms licensees from selling “any firearm or ammunition to any
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        individual” under the age of 18, Section 922(b)(1) limits licensee sales of firearms to

        individuals between the ages of 18 and 20 to “a shotgun or rifle, or ammunition for a

        shotgun or rifle.” 1 And under Section 922(c)(1), a federal firearms licensee may “sell a

        firearm to a[n unlicensed] person who does not appear in person at the licensee’s

        business premises” only if the purchaser submits a sworn statement attesting that “in

        the case of any firearm other than a shotgun or a rifle, [the purchaser is] twenty-one

        years or more of age, or that, in the case of a shotgun or a rifle, [the purchaser is]

        eighteen years or more of age.” Id. § 922(c)(1).

               Sections 922(b)(1) and (c)(1) are restrictions on the commercial sale of

        handguns and do not prohibit the possession of handguns by 18-to-20-year-olds or

        the purchase of rifles or shotguns by those individuals. Congress recognized that,

        under these commercial sale restrictions, “a minor or juvenile would not be restricted

        from owning, or learning the proper usage of [a] firearm, since any firearm which his

        parent or guardian desired him to have could be obtained for the minor or juvenile by

        the parent or guardian.” S. Rep. No. 90-1097, at 79. The Bureau of Alcohol,

        Tobacco, Firearms and Explosives (ATF), which is authorized to promulgate “such

        rules and regulations as are necessary to carry out” Title 18’s provisions relating to


               1
                 A federal firearms license is required to “engage in the business of importing,
        manufacturing, or dealing in firearms” or “ammunition.” 18 U.S.C. § 922(a)(1). A
        person is “engaged in the business” of dealing in firearms, id. § 921(a)(21), if that
        person “devotes time, attention, and labor to dealing in firearms as a regular course of
        trade or business to predominantly earn a profit through the repetitive purchase and
        resale of firearms,” id. § 921(a)(21)(C).
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        firearms, 18 U.S.C. § 926, has issued implementing regulations that closely track the

        statutory restrictions, see, e.g., 27 C.F.R. § 478.99(b).

               In addition to enacting the commercial sale restrictions at issue here, Congress

        has also promulgated various other age-based firearms regulations. For example,

        Congress has limited the circumstances in which individuals under 18 years old may

        possess handguns. See Violent Crime Control and Law Enforcement Act of 1994,

        Pub. L. No. 103-322, tit. XI, subtitle B, § 110201(a), 108 Stat. 1796, 2010-11 (adding

        18 U.S.C. § 922(x)). And in 2022, Congress adopted provisions that require enhanced

        background checks for individuals under the age of 21. See Bipartisan Safer

        Communities Act, Pub. L. No. 117-159, div. A, tit. II, § 12001(a)(1)(B)(i)(III), 136

        Stat. 1313, 1323 (2022) (codified as amended at 18 U.S.C. § 922(t)(1)(C)).

               B.     Prior Proceedings

               Plaintiffs are two 18-to-20-year-olds and one advocacy organization with 18-to-

        20-year-old members. JA10-11. They assert that the commercial sale restrictions

        violate the Second Amendment and request declaratory and injunctive relief. JA27-

        28.

               After plaintiffs moved for summary judgment, the district court granted the

        motion. The court relied on the district court decision in Fraser v. ATF, No. 22-410

        (E.D. Va.), a case that is currently on appeal before this Court, see McCoy v. ATF, No.

        23-2085. The court noted that the Second Amendment’s scope turns on “text” and

        “the Nation’s historic tradition of firearm regulation.” JA38 (quoting New York State
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        Rifle & Pistol Ass’n v. Bruen, 597 U.S. 1, 17 (2022)). Like the court in Fraser, the district

        court here expressed the view that at the founding “eighteen (18) was the age of

        majority for militia service” and that the Second Amendment therefore entitles 18-to-

        20-year-olds to obtain handguns from commercial sellers. JA63. The court

        acknowledged that in the nineteenth century many jurisdictions prohibited the

        commercial sale of handguns to 18-to-20-year-olds but appeared to assign no weight

        to those prohibitions. JA66. Relying instead on its interpretation of Founding Era

        militia laws, the court held unconstitutional the federal restrictions.

               The district court then entered declaratory and injunctive relief on behalf of

        plaintiffs. JA80. At the government’s request, the court entered a stay pending

        appeal. JA81.

                                     SUMMARY OF ARGUMENT

               For over half a century, federal law has prohibited federal firearms licensees

        from selling handguns to individuals under the age of 21. See 18 U.S.C. § 922(b)(1),

        (c). These restrictions do not prevent 18-to-20-year-olds from purchasing rifles and

        shotguns, from possessing and carrying handguns, or from obtaining handguns from

        their parents or guardians. Because the restrictions regulate only the commercial sale

        of handguns to underage individuals, they fall within the class of “conditions and

        qualifications on the commercial sale of arms” that the Supreme Court has taken

        pains not to call into question. District of Columbia v. Heller, 554 U.S. 570, 626-27

        (2008); McDonald v. City of Chicago, 561 U.S. 742, 786 (2010).
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               Unlike the exceptional laws the Supreme Court invalidated in Heller and New

        York State Rifle & Pistol Ass’n v. Bruen, 597 U.S. 1 (2022), the commercial sale

        restrictions reflect a historical tradition that stretches from the founding to the

        present. At the founding, legislatures established an age qualification of 21 for a

        variety of important rights, and there is no evidence that the Second Amendment’s

        ratifiers believed that the Amendment would preclude adoption of the same age

        qualification for the commercial sale of arms. During the nineteenth century, when

        handguns became more lethal and more widespread, at least 20 jurisdictions barred

        the commercial sale of handguns to 18-to-20-year-olds. And in modern times, “all

        fifty States (and the District of Columbia)” have “imposed minimum-age

        qualifications on the use or purchase of particular firearms.” National Rifle Ass’n of

        Am., Inc. v. ATF (NRA), 700 F.3d 185, 190 n.4 (5th Cir. 2012).

               In nonetheless holding unconstitutional the federal restrictions, the district

        court relied in large part on mistaken legal and factual assumptions regarding militias

        at the time of the founding. First, although the court assumed that all individuals over

        the age of 18 were eligible to join the militia, Founding Era legislatures retained

        authority to exclude 18-to-20-year-olds. See NRA, 700 F.3d at 204 n.17 (collecting

        examples). Second, the ability to carry firearms while serving in the militia or its

        historical successors does not imply a right to bear arms outside the supervised

        context of militia service. As the Supreme Court has explained, the Second


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        Amendment codifies “an individual right unconnected to militia service.” Heller, 554

        U.S. at 611.

               The district court likewise erred in excluding from its historical analysis

        nineteenth century evidence the Supreme Court has identified as germane. Heller

        recognizes evidence from that period as a “critical tool of constitutional

        interpretation,” 554 U.S. at 605, and the Supreme Court routinely consults such

        evidence in Second Amendment cases and in cases involving the historical scope of

        other constitutional provisions.

                                      STANDARD OF REVIEW

               This Court reviews the district court’s grant of a motion for summary judgment

        de novo. See Carolina Youth Action Project; Ford ex rel. D.S. v. Wilson, 60 F.4th 770, 777

        (4th Cir. 2023).

                                             ARGUMENT

        The Second Amendment Allows Congress To Prohibit The Commercial
             Sale of Handguns To Individuals Under The Age Of 21

               A. For more than 50 years, federal law has barred federal firearms licensees

        from selling handguns to 18-to-20-year-olds. See 18 U.S.C. § 922(b)(1), (c)(1). The

        restrictions do not prevent 18-to-20-year-olds from “possess[ing] and us[ing]

        handguns.” NRA, 700 F.3d 185, 189 (5th Cir. 2012). Nor do the restrictions prevent

        those individuals from obtaining handguns “from parents or guardians” or “though




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        unlicensed, private sales.” Id. at 190-91. The restrictions also do not prevent 18-to-

        20-year-olds from purchasing rifles or shotguns.

               Those limited restrictions comport with the Second Amendment. The

        Constitution protects an individual right to keep and bear arms, but, “[l]ike most

        rights, the right secured by the Second Amendment is not unlimited.” District of

        Columbia v. Heller, 554 U.S. 570, 626 (2008). In identifying categories of lawful

        regulations, courts consult the Second Amendment’s “text, as informed by history,”

        and “the Nation’s historical tradition of firearm regulation.” New York State Rifle &

        Pistol Ass’n v. Bruen, 597 U.S. 1, 19, 24 (2022). Both considerations thus require a

        review of history.

               Two mutually reinforcing categories of historical evidence show that

        legislatures retain authority to restrict the commercial sale of arms to underage

        individuals. First, Founding Era evidence reflects that the ratifiers did not view the

        Second Amendment as stripping legislatures of authority to prohibit the commercial

        sale of handguns to 18-to-20-year-olds. Second, nineteenth century evidence

        demonstrates that at least 20 jurisdictions enacted laws that parallel the federal

        restrictions and that those laws were recognized as constitutional by courts,

        legislatures, and the public.

               1. Nothing in the Second Amendment’s text or original public meaning entitles

        18-to-20-year-olds to obtain handguns from federal firearms licensees. By its terms,

        the Amendment addresses a right to “keep and bear arms,” U.S. Const. amend. II,
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        and does not codify a right of underage individuals to purchase handguns from

        commercial sellers when those weapons remain available through other sources. In

        keeping with the Second Amendment’s text, in Heller the Court emphasized that

        nothing in its opinion “should be taken to cast doubt” on “laws imposing conditions

        and qualifications on the commercial sale of arms,” 554 U.S. at 626-27 & 627 n.26, in

        McDonald v. City of Chicago the Court “repeat[ed]” those “assurances,” 561 U.S. 742,

        786 (2010), and in Bruen the Chief Justice and Justice Kavanaugh reiterated that

        nothing in the Court’s opinion “should be taken to cast doubt on . . . laws imposing

        conditions and qualifications on the commercial sale of arms,” 597 U.S. at 81

        (Kavanaugh, J., joined by Roberts, C.J., concurring) (quoting Heller, 554 U.S. at 626-

        27).

               Evidence from the founding confirms that the Second Amendment’s text was

        not understood as preventing legislatures from implementing age qualifications on

        access to arms. At the founding, as today, legislatures established age qualifications

        for a range of activities, from getting married, see, e.g., 4 Statutes at Large of Pennsylvania

        153 (James T. Mitchell & Henry Flanders eds., 1897), to becoming a naturalized

        citizen, see Act of Mar. 26, 1790, ch. 3, 1 Stat. 103, 103-04; Act of Jan. 29, 1795, ch. 20,

        1 Stat. 414, 414-15, to forming enforceable contracts, see 2 James Kent, Commentaries on

        American Law 101 (1827); see also Saul Cornell, “Infants” and Arms Bearing in the Era of the

        Second Amendment: Making Sense of the Historical Record, 40 Yale L. & Pol’y Rev. Inter Alia

        1, 9-10 (2021) (collecting examples).
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               For the Second Amendment’s ratifiers, a natural point at which to draw the line

        between underage individuals and responsible adults was age 21. “The age of majority

        at common law was 21” and at the founding, individuals under that age were classified

        as “minor[s]” or “infant[s].” NRA, 700 F.3d at 201; see 1 William Blackstone,

        Commentaries on the Laws of England 451 (1765) (“So that full age in male or female, is

        twenty one years[] . . . who till that time is an infant, and so styled in law.”).

        Consistent with the common law understanding, the “American colonies, then the

        United States, adopted age twenty-one as the near universal age of majority.” Vivian

        E. Hamilton, Adulthood in Law and Culture, 91 Tul. L. Rev. 55, 64 (2016); see 2 Kent,

        supra, at 191 (confirming that “the inability of infants to take care of themselves[] . . .

        continues, in contemplation of law, until the infant has attained the age of twenty-one

        years”).

               Legislatures thus set 21 as the age qualification for many important activities.

        Among other examples, under-21-year-olds generally could not “claim the right of

        petition,” Cornell, supra, at 8-10; enter many kinds of contracts, see 1 Zephaniah Swift,

        A System of the Laws of the State of Connecticut 213-16 (Windham & John Byrne eds.,

        1795); serve on juries, see Albert W. Alschuler & Andrew G. Deiss, A Brief History of the

        Criminal Jury in the United States, 61 U. Chi. L. Rev. 867, 877 n.52 (1994) (finding no

        evidence that historical legislatures authorized individuals under the age of 21 to serve

        on juries); or vote, see Pamela S. Karlan, Ballots and Bullets: The Exceptional History of the

        Right to Vote, 71 U. Cin. L. Rev. 1345, 1345, 1358-59 (2003) (explaining that state
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        legislatures allowed individuals to vote only after they turned 21, a practice that

        persisted from the founding through the 26th Amendment’s passage in 1971).

               In explaining these age qualifications, the founders emphasized their view that

        reason and judgment are not fully developed before age 21. For example, John

        Adams observed that individuals under that age could not vote because they lack

        “[j]udgment” and “[w]ill” and are not “fit to be trusted by the [p]ublic.” Letter from

        John Adams to James Sullivan, 26 May 1776, https://perma.cc/CE79-RA8K (on file with

        the National Archives). Gouverneur Morris, a signer of the Constitution and drafter

        of its Preamble, likewise warned that under-21-year-olds “want prudence” and “have

        no will of their own.” James Madison’s Notes of the Constitutional Convention, August 7,

        1787, Yale L. Sch. Avalon Project, https://perma.cc/QJ7B-D4J4. Similarly, although

        at the founding citizens generally had a duty to serve as peace officers, among those

        ineligible for such service were “infants”—that is, individuals under the age of 21.

        John Faucheraud Grimké, The South-Carolina Justice of Peace 117-18 (R. Aitken & Son

        eds., 1788). There is no basis for concluding that the founders nevertheless believed

        that 18-to-20-year-olds were constitutionally entitled to purchase lethal weapons

        without parental approval.

               That conclusion accords with historical norms concerning parental supervision

        of 18-to-20-year-olds. Founding Era parents generally retained substantial authority

        to supervise individuals under the age of 21. See Brown v. Entertainment Merchs. Ass’n,

        564 U.S. 786, 834 (2011) (Thomas, J., dissenting). Nothing in the historical record
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        suggests that when the founders codified the Second Amendment, they intended to

        alter that paradigm.

               2. Nineteenth century evidence supports the same conclusion. The Supreme

        Court has described evidence from that period as a “critical tool of constitutional

        interpretation.” Heller, 554 U.S. at 605. The Court explained that “the public

        understanding of a legal text in the period after its enactment” is probative as to its

        meaning. Id. Thus, the Court looks to nineteenth century sources in discerning the

        historical scope of various constitutional provisions, including the Second

        Amendment, see, e.g., id. at 605-19 (considering evidence “through the end of the 19th

        century”); Bruen, 597 U.S. at 35-36, 50-56 (same).

               Within a lifetime of the founding, state legislatures enacted laws that parallel the

        restrictions challenged here. At the founding, handguns were rare, fired only one

        shot, often misfired, took a long time to load, and could not be kept loaded for

        extended periods. See Randolph Roth, Why Guns Are and Are Not the Problem, in

        Jennifer Tucker et al. eds., A Right to Bear Arms?: The Contested Role of History in

        Contemporary Debates on the Second Amendment 113, 117-18 (2019). By the mid-

        nineteenth century, “a burst of innovations in the arms industry” resulted in revolvers

        that could be loaded and fired quickly. Id. at 121-24. As handguns became more

        lethal and more widespread, legislatures moved to limit the sale of those weapons to

        underage individuals.


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               For as long as legislatures have codified age qualifications on the commercial

        sale of handguns, they have drawn the line at age 21. As early as 1856, Alabama

        forbade providing “to any male minor” any “air gun or pistol,” Act of Feb. 2, 1856,

        No. 26, § 1, 1856 Ala. Laws 17, 17, and “[a]t that time, the age of majority in Alabama

        was twenty-one years,” National Rifle Ass’n v. Bondi, 61 F.4th 1317, 1325 (11th Cir.),

        opinion vacated upon granting of rehearing en banc, 72 F.4th 1346 (11th Cir. 2023). Two

        years later, Tennessee likewise barred providing “to any minor a pistol[] . . . or like

        dangerous weapon, except a gun for hunting or weapon for defence in travelling.”

        The Code of Tennessee pt. IV, tit. 1, ch. 9, art. II, § 4864, at 871 (Return J. Meigs &

        William F. Cooper eds., 1858). A year after that, Kentucky similarly prevented anyone

        other than parents or guardians from providing “any pistol[] . . . or other deadly

        weapon[] . . . to any minor.” Act of Jan. 12, 1860, ch. 33, § 23, 1859 Ky. Acts 241,

        245.

               In the decades surrounding the passage of the Fourteenth Amendment, which

        established that the Second Amendment, like other provisions of the Bill of Rights, is

        applicable to the states, at least 20 jurisdictions restricted the purchase of firearms by

        18-to-20-year-olds. The scope of these laws varied, but all of them prohibited 18-to-

        20-year-olds from purchasing handguns without the approval of their parents or

        guardians. An 1875 Indiana law, for example, made it a crime “for any person to sell,

        barter, or give to any other person, under the age of twenty-one years, any pistol” or

        similar deadly weapon. Act of Feb. 27, 1875, ch. 40, § 1, 1875 Ind. Acts 59, 59 § 1. In
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        addition to the Alabama, Tennessee, and Kentucky laws cited above, similar

        prohibitions were also enacted in Delaware (1881), the District of Columbia (1892),

        Georgia (1876), Illinois (1881), Iowa (1884), Kansas (1883), Louisiana (1890),

        Maryland (1882), Mississippi (1878), Missouri (1879), North Carolina (1893),

        Oklahoma (1890), Texas (1897), West Virginia (1882), Wisconsin (1883), and

        Wyoming (1890). The prohibitions thus spanned every region of the country and

        covered much of the population. The addendum to this brief provides source and

        citation information for each prohibition.

               The prohibitions were widely recognized and approved by courts,

        commentators, and the public. One review of newspaper editorials and other sources

        of the period noted consistent support for “laws restricting the sale of dangerous

        weapons to minors.” Jacob Charles, Armed in America: A History of Gun Rights from

        Colonial Militias to Concealed Carry ch. 4 & n.211-12 (2019). Thomas Cooley, who wrote

        a “massively popular” treatise that Heller cited with approval, 554 U.S. at 616, likewise

        explained “[t]hat the State may prohibit the sale of arms to minors,” Thomas M.

        Cooley, Treatise on Constitutional Limitations 740 n.4 (5th ed. 1883).

               In what appears to be the sole nineteenth century judicial decision addressing

        age prohibitions parallel to those at issue here, the Tennessee Supreme Court upheld a

        state law prohibiting the sale of pistols to under-21-year-olds. The court held that the

        law was “not only constitutional as tending to prevent crime but wise and salutary in

        all its provisions.” State v. Callicutt, 69 Tenn. 714, 716-17 (1878). In contrast, in a
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        decision issued a few years earlier, the same court concluded that “a statute that

        forbade openly carrying a pistol” contravened the state constitution’s Second

        Amendment analogue. Heller, 554 U.S. at 629 (citing Andrews v. State, 50 Tenn. 165,

        187 (1871)). “[T]he fact that there was apparently only a single challenge to these

        [prohibitions’] constitutionality until well into the twentieth century” further illustrates

        that the public “considered the statutory prohibitions constitutionally permissible.”

        Bondi, 61 F.4th at 1330.

               Nineteenth century evidence thus provides overwhelming support for the

        challenged restrictions. In analyzing whether historical laws constitute “analogue[s]”

        justifying a modern firearms regulation, Bruen reviewed “two metrics: how and why

        the regulations burden a law-abiding citizen’s right to armed self-defense.” 597 U.S.

        at 28-30. Both metrics reflect that the restrictions at issue here rest on firm historical

        foundations. With respect to the “why” metric, historical laws were enacted “to

        prevent crime” by minors. Callicutt, 69 Tenn. at 716. The modern restrictions

        likewise address “the misuse of firearms by juveniles and minors.” S. Rep. No. 89-

        1866, at 59. And with respect to the “how” metric, historical and modern laws both

        regulate the transfer of firearms by the same suppliers (commercial sellers) to the

        same recipients (18-to-20-year-olds).

               It is a testament to the strength of this historical tradition that in modern times,

        “all fifty States (and the District of Columbia) have imposed minimum-age

        qualifications on the use or purchase of particular firearms.” NRA, 700 F.3d at 190
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        n.4. The restrictions challenged here thus stand in stark contrast to the “outlier[]”

        laws the Supreme Court invalidated in Bruen and Heller. Bruen, 597 U.S. at 70; see id. at

        78-79 (Kavanaugh, J., joined by Roberts, C.J., concurring) (highlighting the “unusual”

        nature and “extreme outlier” status of the New York law in Bruen); Heller, 554 U.S. at

        629 (noting that “[f]ew laws in the history of our Nation have come close to the

        severe restriction of the District’s handgun ban”). As Justice Alito emphasized in

        concurrence, Bruen therefore “does not expand the categories of people who may

        lawfully possess a gun” and federal law thus continues to “bar[] the sale of a handgun

        to anyone under the age of 21.” Bruen, 597 U.S. at 73 (Alito, J., concurring) (citing 18

        U.S.C. §§ 922(b)(1), (c)(1)). 2

               B. The district court’s decision reflects significant misunderstandings of the

        relevant historical evidence and of the Supreme Court’s methodology for analyzing

        that evidence.

               1. A central premise of the district court’s reasoning was that the Second

        Amendment’s scope hinges on historical militia laws. The court believed that at the



               2
                 A divided panel of the Third Circuit recently held unconstitutional under the
        Second Amendment certain state laws that “when combined with a state or municipal
        emergency declaration . . . have the practical effect of preventing most 18-to-20-year-
        old adult Pennsylvanians from carrying firearms.” Lara v. Commissioner Pennsylvania
        State Police, No. 21-1832, slip op. at 5 (Jan. 18, 2024). In contrast to the federal age
        restrictions at issue here, the state age restrictions in Lara applied to all firearms, not
        just handguns, and prevented the public carriage of those weapons, not just their sale
        by federal firearms licensees. For the reasons given above, the federal restrictions on
        the commercial sale of handguns pass muster under Bruen’s history-focused test.
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        founding “eighteen (18) was the age of majority for militia service” and that 18-to-20-

        year-olds therefore had a right to acquire handguns outside the context of militia

        service. JA63.

               But Founding Era legislatures retained discretion to exclude 18-to-20-year-olds

        from militias. The district court cited (at JA63) the National Militia Act of 1792,

        which provided that “each and every free able-bodied white male citizen of the

        respective states, resident therein, who is or shall be of the age of eighteen years, and

        under the age of forty-five years (except as is herein after excepted) shall severally and

        respectively be enrolled in the militia.” Militia Act § 1, 1 Stat. 271, 271 (1792)

        (emphasis added). But the next section of the Act “gave States discretion to impose

        age qualifications on service.” NRA, 700 F.3d at 204 n.17; see Militia Act § 2, 1 Stat.

        at 272 (excluding from the militia “all persons who now are or may hereafter be

        exempted by the laws of the respective states”). Indeed, when the governor of

        Massachusetts requested legal advice on this issue, the Massachusetts Supreme Judicial

        Court concluded: “[I]t is competent for the State legislature by law to exempt from

        enrol[l]ment in the militia, all persons under twenty-one and over thirty years of age.”

        In re Opinion of the Justices, 39 Mass. (22 Pick) 571, 576 (1838).

               Thus, “in some colonies and States, the minimum age of militia service either

        dipped below age 18 or crept to age 21, depending on legislative need.” NRA, 700

        F.3d at 204 n.17. Virginia set a minimum age of 21, which it lowered in times of


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        exceptional need, for example, in 1755 prior to the Seven Years War.3 Other states—

        including Georgia, New Jersey, and North Carolina—enrolled only individuals over

        21 in their respective militias at various points between the late eighteenth century and

        the mid-nineteenth century.4 “Such fluctuation undermines [any] militia-based claim

        that the right to purchase arms must fully vest precisely at age 18.” Id.

               Indeed, Founding Era militia laws exemplify the tradition of adult supervision

        over 18-to-20-year-olds’ access to arms. Pennsylvania’s 1755 Militia Act, drafted by

        Benjamin Franklin, permitted individuals under 21 to enroll in the militia but provided

        “[t]hat no [y]outh, under the [a]ge of [t]wenty-one [y]ears, . . . shall be admitted to

        enroll himself[] . . . without the [c]onsent of his or their [p]arents or [g]uardians,

        [m]asters or [m]istresses, in Writing under their Hands.” Militia Act, [25 November

        1755], Nat’l Archives, https://perma.cc/2DFN-Z2GN. In a similar vein, at least six



               3
                  See An Act for the settling and better Regulation of the Militia, ch. II, § II,
        reprinted in 4 The Statutes at Large; Being a Collection of All the Laws of Virginia, from the First
        Session of the Legislature, in the Year 1619, at 118, 118 (William Waller Hening ed., 1820)
        (originally promulgated in 1723); An Act for raising levies and recruits to serve in the
        present expedition against the French, on the Ohio, ch. II, §§ I-III, reprinted in 6
        Hening, supra, at 438, 438-39 (1819) (originally promulgated in 1754); An Act for the
        better regulating and training the Militia, ch. II, §§ II- III, reprinted in 6 Hening, supra, at
        530, 530-31 (1819) (originally promulgated in 1755).
               4
                 See, e.g., The Code of the State of Georgia, pt. 1, tit. 11, chs. 1, 2, §§ 981, 1027, at
        189, 189, 199 (Richard H. Clark et al. eds., 1861); An Act to exempt minors from
        Militia Duty in time of peace (1829), reprinted in A Compilation of the Public Laws of the
        State of New-Jersey, Passed Since the Revision in the Year 1820, at 266, 266 (Josiah Harrison
        ed., 1833); N.C. Const. of 1868, art. XII, § 1.

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        states—including Massachusetts (1810), New Hampshire (1821), Vermont (1807),

        North Carolina (1806), Maine (1821), and Missouri (1826)—required parents to

        furnish the firearms for their children’s militia duty, presumably on the assumption

        that minors could not obtain arms themselves.5

              In any event, authorization to carry a firearm while serving in the militia, or in

        highly regulated entities such as the National Guard, does not determine the scope of

        the right to bear arms outside that context. As the Supreme Court has emphasized,

        the founders understood the Second Amendment as codifying “an individual right

        unconnected with militia service.” Heller, 554 U.S. at 582. “[M]erely being part of the

        militia” thus did not establish an entitlement to Second Amendment rights. Bondi, 61

        F.4th at 1331.

              2. The district court also erred in disregarding (at JA66) the nineteenth century

        analogues for the commercial sale restrictions discussed above. The Supreme Court

        has explained that while nineteenth century materials may “not provide as much

        insight into [the Second Amendment’s] original meaning” as Founding Era sources,

        those materials nonetheless constitute a “critical tool of constitutional interpretation.”



              5
                 See Act of Mar. 6, 1810, ch. 107, § 28, 1810 Mass. Acts 151, 176; Act of Dec.
        22, 1820, ch. 36, § 46, 1820 N.H. Laws 287, 321; Act of Mar. 20, 1797, ch. 81, No. 1,
        § 15, reprinted in 2 The Laws of the State of Vermont, Digested and Compiled 122, 131-32
        (1808); 2 The Code of North Carolina ch. 35, § 3168, at 346-47 (William T. Dortch, John
        Manning, & John S. Henderson eds., 1883); An Act to organize, govern, and
        discipline the Militia of this State ch. 164, § 34, 1821 Me. Laws 687, 716; Act of July 4,
        1825, ch. 1, § 24, 1825 Mo. Laws 533, 554.
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        Bruen, 597 U.S. at 20, 36 (quoting Heller, 554 U.S. at 605, 614). The Court’s extensive

        review of nineteenth century evidence in both Heller and Bruen confirms that such

        evidence plays an important part in Second Amendment analysis. See Heller, 554 U.S.

        at 605-19 (considering evidence “through the end of the 19th century”); Bruen, 597

        U.S. at 35-36, 50-56 (same); see id. at 30 (looking to “18th- and 19th-century” evidence

        in discussing the scope of the sensitive places doctrine). That numerous nineteenth

        century jurisdictions prohibited the purchase of handguns by 18-to-20-year-olds—and

        that there is no evidence that those prohibitions were viewed as infringing the right to

        keep and bear arms—thus provides strong support for the challenged restrictions.

               3. The district court’s reasoning is flawed in other respects as well. The court

        observed, for example, that “because neither the First nor Fourth Amendments

        exclude[] . . . 18-to-20-year-olds, [there is] no reason to read an implicit age restriction

        into the Second Amendment[].” JA57. But permissible restrictions on the purchase

        of firearms are not determined by direct reference to the protections of the First or

        Fourth Amendments. As Bruen makes clear, any interpretation of the Second

        Amendment’s text must be “informed by history,” 597 U.S. at 19, and history shows

        that the Second, First, and Fourth Amendments do not share the same scope. If the

        scope of the Second Amendment was coterminous with that of the First or Fourth

        Amendments, the Supreme Court’s focus on “the Nation’s historical tradition of

        firearm regulation” would appear to be misplaced. Id. at 24.


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               It was similarly incorrect for the district court to suggest (at JA55) that

        constitutional provisions codifying age qualifications for federal elected offices

        indicate that the ratifiers meant to preclude legislatures from establishing similar

        qualifications in other constitutional contexts. Under that theory no age

        qualification—even age 18—could apply. By setting age qualifications for Presidents,

        Senators, and Members of Congress, the framers did not preclude legislatures from

        enacting any age qualifications for all other activities.

               The error of the district court’s analysis is illustrated by the significance it

        attached to the Supreme Court’s holding that capital punishment constitutes cruel and

        unusual punishment for persons under 18 but is otherwise constitutionally

        permissible. JA58 (citing Roper v. Simmons, 543 U.S. 551, 574 (2005)). Insofar as the

        Supreme Court’s analysis is relevant, it underscores the district court’s error in

        suggesting that the Second Amendment’s drafters did not “contemplate[] age

        restrictions.” JA55. More generally, the Supreme Court’s inquiry into the

        constitutionality of a particular punishment for Eighth Amendment purposes does

        not determine the scope of the protections afforded by the Second Amendment.

        That is particularly clear because the Eighth Amendment analysis is explicitly

        ahistorical. Punishments that were once commonly accepted no longer survive

        constitutional scrutiny in light of an “evolving standards of decency” test that focuses

        on “contemporary” standards. Roper, 543 U.S. at 562-63. In looking to contemporary

        standards, the Supreme Court has concluded that capital punishment of persons over
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        18 is permissible because “[t]he age of 18 is the point where society draws the line for

        many purposes between childhood and adulthood.” Id. at 574. The inquiry into

        contemporary standards of decency says nothing about “this Nation’s historical

        tradition,” Bruen, 597 U.S. at 17, with regard to the right to bear arms.

               The district court was likewise mistaken in relying (at JA58-60) on the decision

        of a divided panel of this Court invalidating the federal restrictions. That case became

        moot before further review was possible, and the decision was accordingly vacated.

        See Hirschfeld v. ATF, 5 F.4th 407, 452 (4th Cir. 2021), as amended (July 15, 2021),

        vacated, 14 F.4th 322, 325 (4th Cir. 2021). A vacated opinion has no “precedential

        value within this circuit,” In re Naranjo, 768 F.3d 332, 344 n.14 (4th Cir. 2014), and for

        the reasons given above, the challenged restrictions pass constitutional muster under

        Bruen’s history-focused test.

               4. The district court compounded its error by awarding injunctive relief without

        addressing the prerequisites for such relief. A district court may grant injunctive relief

        only when it “determine[s] that an injunction should issue under the traditional four-

        factor test.” Monsanto Co. v. Geertson Seed Farms, 561 U.S. 139, 157-58 (2010). In this

        case, however, the district court assumed that plaintiffs were entitled to an injunction

        (JA67-68), without analyzing the four-factor test or affording the government an

        opportunity to brief the issue. This Court recently reaffirmed that, before entering an

        injunction, a district court “must not only comply with the applicable Rules of Civil

        Procedure, but also carefully assess whether the appropriate four-factor test is
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        satisfied.” Wudi Indus. (Shanghai) Co. v. Wong, 70 F.4th 183, 192-93 (4th Cir. 2023).

        Because the district court’s decision satisfied neither requirement, the injunction

        cannot withstand appellate review.




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                                          CONCLUSION

              For the foregoing reasons, the judgment of the district court should be

        reversed.

                             REQUEST FOR ORAL ARGUMENT

              Plaintiffs challenge the constitutionality of longstanding provisions of federal

        law. The federal government believes that oral argument is therefore appropriate.



                                                       Respectfully submitted,

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              This brief complies with the type-volume limit of Federal Rule of Appellate

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                                                          s/ Steven H. Hazel
                                                        Steven H. Hazel
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                                    CERTIFICATE OF SERVICE

              I hereby certify that on January 22, 2024, I electronically filed the foregoing

        brief with the Clerk of the Court for the United States Court of Appeals for the

        Fourth Circuit by using the appellate CM/ECF system. Service will be accomplished

        by the appellate CM/ECF system.




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        18 U.S.C. § 922
        § 922. Unlawful acts
        ...
              (b) It shall be unlawful for any licensed importer, licensed manufacturer, licensed
              dealer, or licensed collector to sell or deliver--
                (1) any firearm or ammunition to any individual who the licensee knows or has
                reasonable cause to believe is less than eighteen years of age, and, if the firearm,
                or ammunition is other than a shotgun or rifle, or ammunition for a shotgun or
                rifle, to any individual who the licensee knows or has reasonable cause to
                believe is less than twenty-one years of age;
        ....
              (c) In any case not otherwise prohibited by this chapter, a licensed importer,
              licensed manufacturer, or licensed dealer may sell a firearm to a person who does
              not appear in person at the licensee's business premises (other than another
              licensed importer, manufacturer, or dealer) only if--
                (1) the transferee submits to the transferor a sworn statement in the following
                form:
        “Subject to penalties provided by law, I swear that, in the case of any firearm other
        than a shotgun or a rifle, I am twenty-one years or more of age, or that, in the case of
        a shotgun or a rifle, I am eighteen years or more of age; that I am not prohibited by
        the provisions of chapter 44 of title 18, United States Code, from receiving a firearm
        in interstate or foreign commerce; and that my receipt of this firearm will not be in
        violation of any statute of the State and published ordinance applicable to the locality
        in which I reside.
        Further, the true title, name, and address of the principal law enforcement officer of
        the locality to which the firearm will be delivered are_________________________.
                                                                        Signature ........ Date ........”


              and containing blank spaces for the attachment of a true copy of any permit or
              other information required pursuant to such statute or published ordinance;
        ....




                                                    A1
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        27 C.F.R. § 478.99
        § 478.99. Certain prohibited sales or deliveries
        ....
        (b) Sales or deliveries to underaged persons. A licensed importer, licensed
        manufacturer, licensed dealer, or licensed collector shall not sell or deliver (1) any
        firearm or ammunition to any individual who the importer, manufacturer, dealer, or
        collector knows or has reasonable cause to believe is less than 18 years of age, and, if
        the firearm, or ammunition, is other than a shotgun or rifle, or ammunition for a
        shotgun or rifle, to any individual who the importer, manufacturer, dealer, or collector
        knows or has reasonable cause to believe is less than 21 years of age, or (2) any
        firearm to any person in any State where the purchase or possession by such person
        of such firearm would be in violation of any State law or any published ordinance
        applicable at the place of sale, delivery, or other disposition, unless the importer,
        manufacturer, dealer, or collector knows or has reasonable cause to believe that the
        purchase or possession would not be in violation of such State law or such published
        ordinance.
        ....




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        Table of Historical Laws Restricting the Sale of Handguns to Eighteen-to-
        Twenty-Year-Olds

         Jurisdiction   Year Source                   Available At
         Alabama        1856 1856 Ala. Acts 17,       https://heinonline.org/HOL/P?h=hei
                             No. 26, § 1              n.ssl/ssal0178&i=17
         Chicago,       1873 Proceedings of the       https://hdl.handle.net/2027/uiug.3011
         Illinois            Common Council           2089447939?urlappend=%3Bseq=192
                             of the City of           %3Bownerid=13510798902234869-196
                             Chicago for the
                             Municipal Year
                             1872-3, at 113-14
                             (1874)
         Delaware       1881 16 Del. Laws 716         https://heinonline.org/HOL/Page?ha
                             (1881)                   ndle=hein.ssl/ssde0173&id=430&colle
                                                      ction=ssl
         District of    1892   27 Stat. 116-17        https://hdl.handle.net/2027/hvd.hj1gjl
         Columbia              (1892)                 ?urlappend=%3Bseq=294%3Bownerid
                                                      =27021597767057788-314
         Georgia        1876   1876 Ga. Laws          https://heinonline.org/HOL/P?h=hei
                               112, No.               n.ssl/ssga0180&i=112
                               CXXVIIII (O.
                               No. 63), § 1
         Illinois       1881   1881 Ill. Laws 73,     https://heinonline.org/HOL/P?h=hei
                               §2                     n.ssl/ssil0240&i=81
         Indiana        1875   1875 Ind. Laws 59,     https://heinonline.org/HOL/P?h=hei
                               ch. XL, § 1            n.ssl/ssin0221&i=59
         Iowa           1884   1884 Iowa Acts         https://heinonline.org/HOL/P?h=hei
                               and resolutions 86,    n.ssl/ssia0095&i=114
                               ch. 78, § 1
         Kansas         1883   1883 Kan. Sess.        https://heinonline.org/HOL/P?h=hei
                               Laws 159, ch. CV,      n.ssl/ssks0111&i=169
                               1-2
         Kentucky       1859   Edward Bullock         https://heinonline.org/HOL/P?h=hei
                               and William            n.sstatutes/gcucky0001&i=371
                               Johnson, The
                               General Statutes of
                               the Commonwealth of
                               Kentucky 359, § 1
                               (1873)

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         Lincoln,       1895   1895 Neb. Laws          https://heinonline.org/HOL/P?h=hei
         Nebraska              237-38, Laws of         n.ssl/ssne0123&i=247
                               Nebraska Relating to
                               the City of Lincoln,
                               Art. XXVI, §§ 2, 5
         Louisiana      1890   1890 La. Acts 39,       https://heinonline.org/HOL/P?h=hei
                               No. 46, § 1             n.ssl/ssla0223&i=39
         Maryland       1882   1882 Md. Laws           https://heinonline.org/HOL/P?h=hei
                               656, ch. 424, § 2       n.ssl/ssmd0444&i=656
         Mississippi    1878   1878 Miss. Laws         https://heinonline.org/HOL/P?h=hei
                               175, ch. 66, §§ 1-2     n.ssl/ssms0207&i=207
         Missouri       1879   Revised Statutes of     https://heinonline.org/HOL/P?h=hei
                               the State of Missouri   n.sstatutes/ristesm0001&i=320
                               224, § 1274 (1879)
         Nevada         1885   1885 Nev. Stat. 51,     https://heinonline.org/HOL/P?h=hei
                               ch. 51, § 1             n.ssl/ssnv0097&i=61
         North          1893   1893 N.C. Pub. L.       https://heinonline.org/HOL/P?h=hei
         Carolina              & Res. 468, ch.         n.ssl/ssnc0078&i=498
                               514, § 1
         Oklahoma       1890   1890 Okla. Laws         https://heinonline.org/HOL/P?h=hei
                               495, ch. 25, art. 47,   n.ssl/ssok0081&i=511
                               §3
         Tennessee      1856   1856 Tenn. Acts         https://heinonline.org/HOL/P?h=hei
                               92, ch. 81, § 2         n.ssl/sstn0249&i=108
         Texas          1897   1897 Tex. Gen.          https://heinonline.org/HOL/P?h=hei
                               Laws 221-22, ch.        n.ssl/sstx0251&i=245
                               155, § 1
         West Virginia 1882    1882 W. Va. Acts.       https://heinonline.org/HOL/P?h=hei
                               421-22, ch. 135,        n.ssl/sswv0101&i=421
                               §1
         Wisconsin      1883   1883 Wis. Sess.         https://heinonline.org/HOL/P?h=hei
                               Laws 290, ch. 329,      n.ssl/sswi0136&i=290
                               §§ 1-2
         Wyoming        1890   1890 Wyo. Sess.         https://heinonline.org/HOL/P?h=hei
                               Laws 140, § 97          n.ssl/sswy0076&i=138




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